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                                EXHIBIT “A”




4852-4385-5029.1
                         Case 1:21-cv-00535-TCB Document 1-1 Filed 02/04/21 Page 2 of 232County Superior Court
                                                                                   Fulton
                                                                                                                                            ***EFILED***TV
                                 General Civil and Domestic Relations Case Filing Information Form Date: 12/22/2020 3:49 PM
                                                                                                                                  Cathelene Robinson, Clerk
                                     ☐ Superior or ☐ State Court of ______________________________
                                                                    Fulton                         County

           For Clerk Use Only
                                 12/22/2020                                                          2020CV343883
           Date Filed _________________________                                Case Number _________________________
                           MM-DD-YYYY

Plaintiff(s)                                                                      Defendant(s)
__________________________________________________
              Association, Inc.
Faircroft Homeowners
                                                                                  __________________________________________________
                                                                                   American Alternative Insurance Corporation

Last                   First                Middle I.     Suffix     Prefix         Last                  First       Middle I.    Suffix   Prefix
__________________________________________________                                __________________________________________________
Last                   First                Middle I.     Suffix     Prefix         Last                  First       Middle I.    Suffix   Prefix
__________________________________________________                                __________________________________________________
Last                   First                Middle I.     Suffix     Prefix         Last                  First       Middle I.    Suffix   Prefix
__________________________________________________                                __________________________________________________
Last                   First                Middle I.     Suffix     Prefix         Last                  First       Middle I.    Suffix   Prefix

Plaintiff’s Attorney ________________________________________
                     J. Remington Huggins, Esq.               State Bar Number __________________
                                                                               348736             Self-Represented ☐

                               Check one case type and one sub-type in the same box (if a sub-type applies):

           General Civil Cases
                                                                                           Domestic Relations Cases
           ☐            Automobile Tort
           ☐            Civil Appeal                                                       ☐            Adoption
           ☐            Contempt/Modification/Other                                        ☐            Contempt
                        Post-Judgment                                                                   ☐ Non-payment of child support,
           ☐
           ✔
                        Contract                                                                        medical support, or alimony
           ☐            Garnishment                                                        ☐            Dissolution/Divorce/Separate
           ☐            General Tort                                                                    Maintenance/Alimony
           ☐            Habeas Corpus                                                      ☐            Family Violence Petition
           ☐            Injunction/Mandamus/Other Writ                                     ☐            Modification
           ☐            Landlord/Tenant                                                                 ☐ Custody/Parenting Time/Visitation
           ☐            Medical Malpractice Tort                                           ☐            Paternity/Legitimation
           ☐            Product Liability Tort                                             ☐            Support – IV-D
           ☐            Real Property                                                      ☐            Support – Private (non-IV-D)
           ☐            Restraining Petition                                               ☐            Other Domestic Relations
           ☐            Other General Civil

☐          Check if the action is related to another action pending or previously pending in this court involving some or all of
           the same: parties, subject matter, or factual issues. If so, provide a case number for each.
           ____________________________________________            ____________________________________________
                         Case Number                                             Case Number

☐
✔
           I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
           redaction of personal or confidential information in OCGA § 9-11-7.1.

☐          Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

            ________________________________ Language(s) Required

☐          Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                                              Version 1.1.20
                         Case 1:21-cv-00535-TCB Document 1-1 Filed 02/04/21 Page 3 of 232
                                                                             Registered Agent Solutions, Inc.
                                                                                                                                                      Corporate Mailing Address
                                                                                                                                                      1701 Directors Blvd.
                                                                                                                                                      Suite 300
                                                                                                                                                      Austin, TX 78744
                                                                                                                                                      Phone: (888) 705-RASi (7274)



                                                SERVICE OF PROCESS RECEIPT
1/5/2021
Ignacio Rivera
                                                                                                                      NOTICE OF CONFIDENTIALITY
American Alternative Insurance Corporation
                                                                                                                      This notice and the information it contains are
555 College Road East                                                                                                 intended to be a confidential communication only to
Amelia, NJ 08540 USA                                                                                                  the individual and/or entity to whom it is addressed.
                                                                                                                      If you have received this notice in error, immediately
                                                                                                                      call our SOP Department at (888) 705-7274.


RE: American Alternative Insurance Corporation

This receipt is to inform you that Registered Agent Solutions, Inc. has received a Service of Process on behalf of the
above-referenced entity as your registered agent and is hereby forwarding the attached document(s) for your immediate
review. A summary of the service is shown below; however, it is important that you review the attached document(s) in
their entirety for complete and detailed information.
For additional information and instruction, contact the document issuer: THE HUGGINS LAW FIRM LLC


   SERVICE INFORMATION                                                                                   RASi REFERENCE INFORMATION
   Service Date:                        1/5/2021                                                         Service No.:                         0159716
   Service Time:                        11:23 AM EST                                                     RASi Office:                         Georgia
   Service Method:                      Process Server                                                   Rec. Int. Id.:                       AC

   CASE INFORMATION                                                                                      ANSWER / APPEARANCE INFORMATION
   Case Number:     2020CV343883                 5 days              (Be sure to review the document(s)
                                                                     for any required response dates)
   File Date:       12/21/2020
   Jurisdiction:    SUPERIOR COURT IN AND FOR FULTON COUNTY, GEORGIA
   Case Title:      FAIRCROFT HOMEOWNERS ASSOCIATION INC VS. AMERICAN ALTERNATIVE
                    INSURANCE CORPORATION
   AGENCY / PLAINTIFF INFORMATION
   Firm/Issuing Agent:                  THE HUGGINS LAW FIRM LLC
   Attorney/Contact:                    J. REMINGTON HUGGINS
   Location:                            Georgia
   Telephone No.:                       770-913-6229

   DOCUMENT(S) RECEIVED & ATTACHED
   Complaint
   Summons
   OtherDetail: CERTIFICATE OF SERVICE



   ADDITIONAL NOTES
   Extensive Exhibits(150+ pages). Hard-copies will follow. Thank you.

   Multiple response dates. Please carefully review document.




   Questions or Comments... Should you have any questions or need additional assistance, please contact the SOP Department at (888) 705-7274.
   You have been notified of this Service of Process by Insta-SOP Delivery, a secure email transmission. The transmitted documents have also been uploaded to your Corpliance account. RASi
   offers additional methods of notification including Telephone Notification and FedEx Delivery. If you would like to update your account's notification preferences, please log into your Corpliance
   account at www.rasi.com.


                                                                          Thank you for your continued business!
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      Case 1:21-cv-00535-TCB Document 1-1 Filed 02/04/21 Page 231Fulton
                                                                  of 232County Superior Court
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                                                                                     Cathelene Robinson, Clerk

                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                STATE OF GEORGIA

FAIRCROFT HOMEOWNERS                                )
ASSOCIATION, INC.,                                  )
                                                    )
       Plaintiff,                                   )
                                                    )       CIVIL ACTION FILE NO.:
                                                             2020CV343883
v.                                                  )       _______________________
                                                    )
AMERICAN ALTERNATIVE                                )
INSURANCE CORPORATION,                              )
 a foreign corporation,                             )
                                                    )
       Defendant.                                   )

                               CERTIFICATE OF SERVICE
       This is to certify that I have served the foregoing upon the Defendant American Alternative
Insurance Corporation (“AAIC”) by serving them with the Summons, Complaint and Exhibits,
in accordance with the Court’s rules to the Defendant AAIC at the address listed below:
                              Registered Agent Solutions, Inc.
                           Registered Agent for Defendant AAIC
                         900 Old Roswell Lakes Parkway, Suite 310
                                    Roswell, GA 30076

       Respectfully submitted, this the 21st day of December 2 0 2 0.

                                                    For: The Huggins Law Firm, LLC


                                                    _/s/ J. Remington Huggins______
                                                    J. Remington Huggins, Esq.
                                                    Georgia Bar No.: 348736
                                                    Michael D. Turner, Esq.
                                                    Georgia Bar No.: 216414
                                                    Attorneys for the Plaintiff
                                                    110 Norcross Street
                                                    Roswell, GA 30075
                                                    (o) (770) 913-6229
                                                    (e) remington@lawhuggins.com
                                                    (e) mdturner@lawhuggins.com
      Case 1:21-cv-00535-TCB Document 1-1 Filed 02/04/21 Page 232Fulton
                                                                  of 232County Superior Court
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                                                                                                                   Cathelene Robinson, Clerk

                     IN THE SUPERIOR CﬂURT 0F                           F ULTDN COUNTY
                                                STATE 0F GEURGIA

FAIRCRUF-T HomnonﬂsERs
assocnsrlon, THC,
       Plaintiff,
                                                                             CIVIL ACTION FILE Nu:
v.                                                                              ZBZHCVMSSBE

AMERICAN ALTERNATIVE
WSU'RANCE CDRPGRATION,
a foreign corporation,

       Defendant.

                                           AFFIDAVIT DF SERVICE
       Personail‘j.F appeazed before the undersigned ofﬁcer Idol};r audiorized' to administer oaths;

Chadd Wallaee,_ who after ﬁrst being             duh,r   sworn, deposes as follows:

       My name is Lincoln-         LQ...“   1   than."     .   lam over the age of eighteen ( l S} andl am a citizen
ofthe United States. I am not related to or employed by                   an}r   party or at'tonnejyr in this lawsuit and
I am appointed to serve Proeess in this Court.
       I   hereby eertifj.r that on    _

                                            \tnnuwﬁ-rlf
                                                                at“      , at     l   l   ‘-   In.      ,    i served Defendant

American Alternative Insurance Corporation tinnngh its registered agent. Registered Agent
Solutions, Inc, by leaving a service mp3; of the Summons; Complaint, and all exhibits at its piece
ofbusiness located at   Elﬂtl   Old Roswell Lakes Parkway, Suite Bill, litosrvell=                          on sears.


       AFFIANT sarera nor FURTHER an. the E) be                                  ray- of         3,2                    ,   2oz...
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